











Opinion issued September 30, 2005











In The
Court of Appeals
For the
First District of Texas
____________

NO. 01-05-00737-CV
&nbsp;&nbsp;____________

IN RE DAMIAN JOHNSON, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINIONRelator, Damian Johnson, filed a petition for writ of mandamus complaining
that Judge Frank Rynd erred by entering an “Amended Order for Spousal Support as
Interim Attorney’s Fees.”


 
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for writ of mandamus.
PER CURIAM
Panel consists of Justices Taft, Jennings, and Hanks.


